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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   OCALA DIVISION

                                                           Case No.: 5:17-cv-426-Oc-40PRL
 CHERYL RAFFERTY, on behalf of herself and all
 others similarly situated,
         Plaintiff,

 vs.

 RETRIEVAL-MASTERS CREDITORS BUREAU,
 INC., d/b/a RMCB Collection Agency, a foreign
 corporation,
        Defendants.
 _____________________________________/

  NOTICE OF COMPLIANCE WITH ORDER TO MEET AND CONFER REGARDING
                     NEW TRIAL TERM (DOC. 119)

          COMES NOW Plaintiff, CHERYL RAFFERTY, by and through the undersigned counsel,

 and files this Notice of Compliance with the Court’s Order dated November 16, 2018, and states:

 1. Counsel for Plaintiff has conferred with counsel for Defendant to select a new trial term

       between the months of March 2019 and May 2019.

 2. The Parties have agreed to a new trial term during May 2019.

 3. Counsel for Plaintiff will be unavailable on Monday, May 27, 2019.
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                                  CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on November 23, 2018, I electronically filed the foregoing with

 the Clerk of Court by using the CM/ECF system, which will case the foregoing to be sent via email

 to the following registered participants:

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